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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

GEORGIA STATE CONFERENCE
OF THE NAACP, et al.,

        Plaintiffs,                         CIVIL ACTION

v.                                          FILE NO. 1:21-CV-05338-SCJ-
                                            SDG-ELB
STATE OF GEORGIA, et al.,

        Defendants.


          REPLY BRIEF IN SUPPORT OF MOTION TO DISMISS

        Plaintiffs’ Response in Opposition to Defendants’ Motion to Dismiss

[Doc. 66] (“Response”) essentially asks this Court to find a private right of

action for their Section 2 claims because “that’s the way it’s always been

done.” And while stare decisis is a bedrock principle of American law,

decisions that merely assume without deciding—or that touch on issues only

in non-precedential dicta—are not binding on any court, including this one.

That is why, in combination with recent Supreme Court language casting

doubt on long-held assumptions regarding enforceability of Section 2,

Defendants requested this Court take “a fresh look” at the statute and

answer the question head on as another district court recently did. [Doc. 63-1,
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p. 51] quoting Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321, 2326

(2021). Plaintiffs’ response to this invitation was to lean heavily on legal

fictions and empty caselaw in an effort to divert a searching inquiry into the

inherent textual flaws in their Section 2 claim. But appeals to legislative

history and the faulty assumptions of higher courts that ultimately conflict

with the text cannot help Plaintiffs. Their Section 2 claim should be

dismissed because it is enforceable only by the Attorney General of the

United States.

              ARGUMENT AND CITATION TO AUTHORITY

       Plaintiffs’ Response does not begin with the text of Section 2, 52 U.S.C.

§ 10301(a)–(b), because it cannot—the text offers no support for their

arguments. Instead, they begin by highlighting the purported “intent” of

Congress in passing the Voting Rights Act (“VRA”) and its subsequent

amendments.

       Plaintiffs attempt to divine this intent first by looking at the plurality

opinion in Morse v. Republican Party, 517 U.S. 186 (1996), to put the weight

of the Supreme Court behind their interpretation of Section 2. Then Plaintiffs

look to the “language and structure” of the VRA as a whole, hoping to find a


1All citations to filed documents are to the blue ECF page numbers at the top
of each page.

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private right of action by reading other provisions of the Act. Plaintiffs then

seek refuge in the legislative history of the VRA, making the familiar offering

of committee reports and testimony as evidence that, although there is no

private right of action in the text of Section 2, it was clearly contemplated by

Congress. And finally, Plaintiffs offer the hollow argument that Congress

ratified a private right of action by not explicitly removing it in its

amendments. These arguments fail when faced with the reality that one

cannot square the text of Section 2 with the claim that it offers plaintiffs a

private right of action.

      I.    Morse does not create binding precedent on whether a
            private right of action exists for Section 2.

      Plaintiffs confidently assert that the Supreme Court has considered

and decided the question of private enforcement of Section 2 of the VRA in

the case of Morse, 517 U.S. at 186. [Doc. 66, pp. 12-14]. In support of this

position, they cite part of Justice Stevens’ plurality opinion for the

proposition that “the private right of action under Section 2 … has been

clearly intended by Congress since 1965.” [Doc. 66, p. 12] quoting Morse, 517

U.S. at 240 (Stevens, J., joined by Ginsburg, J.). But Morse was a divided 2-3-

4 decision that involved the private enforceability of Section 10 of the VRA,

not Section 2. Any reference to the private enforceability of Section 2 was



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merely dicta and was not necessary to Justice Stevens’ holding. Accordingly,

it has no precedential value for purposes of Section 2. “[T]his Court does not

decide important questions of law by cursory dicta inserted in unrelated

cases.” In re Permian Basin Area Rate Cases, 390 U.S. 747, 775 (1968); see

also Bryan A. Garner, et al., The Law of Judicial Precedent 46 (2016)

(“Generally, a dictum is a statement in a judicial opinion that is unnecessary

to the case’s resolution.”).

      Moreover, to the extent dicta in two different non-majority opinions

forms what Plaintiffs believe constitutes a majority holding on whether there

is a private right of action under Section 2, the opinions are not precisely in

alignment in their reasoning. Accordingly, relying on either of them as the

Court’s “holding” is even more tenuous. “When a fragmented Court decides a

case and no single rationale explaining the result enjoys the assent of five

Justices, the holding of the Court may be viewed as that position taken by

those Members who concurred in the judgments on the narrowest grounds.”

Marks v. United States, 430 U.S. 188, 193 (1977) (internal quotations

omitted). The dicta the Plaintiffs attempt to elevate to precedent contains

precious little rationale for an obvious reason—the Supreme Court was not

considering Section 2. Thus, any purported agreement among the divided

Supreme Court with respect to Section 2 is too broad to constitute the Court’s

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holding under Marks. The Court’s holding in Morse was, therefore, limited to

Section 10 of the VRA.

      II.   The language and structure of the VRA do not evince a
            scheme that provides a private right of action under
            Section 2.

      Plaintiffs next turn to the text of the VRA in search for “rights-creating

language” in Section 2. They argue that the statute “explicitly refers to a

citizen’s right and is phrased in terms of the persons benefited.” [Doc. 66, p.

14] (quotations omitted). And Plaintiffs believe they found such rights-

creating language in the portion of Section 2 that refers to the “right of any

citizen… to vote…” Id. But subsection (b), which was added by the 1982

amendments, explains that the right conferred by subsection (a) is not

individual, but group-based. That is, a violation of such right can only be

established when the voting process is “not equally open to participation by

members of a class of citizens protected by subsection (a) in that its members

have less opportunity than other members of the electorate to participate in

the political process…” 52 U.S.C. § 10301(b) (emphasis added).

      This language turns Plaintiffs’ “individual rights-creating” allegation

on its head. Because contrary to what Plaintiffs suggest, Section 2 expressly

limits relief to a group of “members of a class,” not individuals. Indeed, an

individual can never prove a Section 2 violation in isolation because a breach

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of Section 2 can only be shown where a class of citizens cannot elect its

preferred candidate of choice or the election system is not equally open to

those citizens. If one member of that class were to merely allege that he or

she cannot elect their preferred candidate, there would clearly be no cause of

action for that person even under Plaintiffs’ theory. Instead, an aggrieved

member of the group would need to be alleged that the right to vote of the

minority group is hindered. As explained by the Supreme Court in Gingles,

Section 2 claims fail unless minority groups “experience substantial difficulty

electing representatives of their choice.” Thornburg v. Gingles, 478 U.S. 30,

48 n.15 (1986). Given the nature of Section 2 claims, it is clear that Section 2

grants only a group right, not an individual right. And where statutes are

“not concerned with whether the needs of any particular person have been

satisfied… they cannot give rise to individual rights.” Gonzaga Univ. v. Doe,

536 U.S. 273, 288 (2002). The language of Section 2 cuts against Plaintiffs’

theory. And provisions elsewhere in the VRA provide no relief.

      In their Response, Plaintiffs argue that Section 2, when read in tandem

with Sections 3, 12, and 14 “unequivocally supports congressional intent to

create a private remedy.” [Doc. 66, p. 15]. But Section 3 involves a remedy for

an aggrieved person only when those actions are brought “to enforce the

voting guarantees of the fourteenth or fifteenth amendment.” 52 U.S.C. §

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10302. Similarly, Section 14 provides attorneys’ fees for prevailing parties

“[i]n any action or proceeding to enforce the voting guarantees of the

fourteenth or fifteenth amendment.” 52 U.S.C. § 10310(e). But claims made

pursuant to Section 2 are not brought to enforce the guarantees of the

Fourteenth or Fifteenth amendments. Rather, they are brought to enforce the

provisions of Section 2 of the VRA, which do not mirror the Fourteenth and

Fifteenth amendments. To the contrary, Section 2 was amended in 1982

precisely   because   the   guarantees   of   the   Fourteenth   and   Fifteenth

amendments were found lacking in the wake of the Supreme Court’s decision

in City of Mobile v. Bolden, 446 U.S. 55 (1980). So, Congress created new

guarantees under Section 2 by including the “results” test in its 1982

amendments. Voting Rights Act Amendments of 1982, Pub. L. No. 97-205,

sec. 3, 96 Stat. 131 (1982), codified at 52 U.S.C. § 10301. Clearly, Sections 3

and 14 fail to advance the ball for Plaintiffs. And Section 12 is similarly

hollow.

      Section 12 of the VRA is codified at 52 U.S.C. § 10308 (P.L. 89-110 §

12). That section is “focused entirely on enforcement proceedings instituted

by the Attorney General.” Ark. State Conference NAACP v. Arkansas Bd. of

Apportionment, No. 4:21-cv-01239-LPR, ___ F. Supp. 3d ___, 2022 U.S. Dist.

LEXIS 29037, at *25 (E.D. Ark. Feb. 17, 2022) (“Ark. NAACP”). Despite this

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language, Plaintiffs suggest Section 12 weighs in favor of an implied private

right of action under Section 2. [Doc. 66, pp. 17-18]. In so doing, Plaintiffs

apparently conflate Sections 14 and 12 in their Response. Id. (where

Plaintiffs cite to 52 U.S.C.A. § 10310(e), which are the fee-shifting provisions

of Section 14, and Maloney v. City of Marietta, in which the portion cited by

Plaintiffs deals with Section 14, not Section 12). 822 F. 2d 1023, 1026 (11th

Cir. 1987). Nothing in Section 12 bolsters Plaintiffs’ case, because Section 12

deals with associated penalties for discrete violations of the VRA and Section

12(f)—which appears to be the provision Plaintiffs focus on based on FN 4 of

their Response—is simply a grant of jurisdiction. Such jurisdictional

provisions “create[] no cause of action.” Touche Ross & Co. v. Redington, 442

U.S. 560, 577 (1979).

      III.   The legislative history Plaintiffs cite is unpersuasive and
             cannot create a private right of action when one is lacking
             in the text.

      Plaintiffs suggest that Justice Scalia’s decision in Sandoval confirms

the need to look to legislative history in determining whether a private right

of action exists. [Doc. 66, p. 21], citing Alexander v. Sandoval, 532 U.S. 275

(2001). But the Sandoval court was clear that the “interpretive inquiry

begins with the text and structure of the statute… and ends once it has

become clear that Congress did not provide a cause of action.” Id. at 288 n.7

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Indeed, as Justice Scalia later commented, the use of legislative history

assumes that “what we are looking for is the intent of the legislature rather

than the meaning of the statutory text. That puts things exactly backwards.

To be ‘a government of law, not of men’ is to be governed by what the laws

say, and not by what the people who drafted the laws intended.” Antonin

Scalia & Bryan Garner, READING LAW: THE INTERPRETATION OF LEGAL TEXTS

375 (2012) (emphasis original). The portion of the majority opinion in

Sandoval that Plaintiffs highlight on this point references an earlier

Supreme Court case dealing with legislative history, but Plaintiffs miss the

point being made in Sandoval: when the text and structure of the law at

issue are clear, as they are here, that ends the inquiry. Nevertheless,

Plaintiffs spend a significant portion of their argument citing committee

reports from various amendments to the VRA. And apart from being

unpersuasive, these references only make more conspicuous Plaintiffs’ lack of

citation to Section 2 itself.

      Plaintiffs first cite to the 1975 Senate Report, which provided that

“[t]he Committee concludes that it is sound policy to authorize private

remedies to assist the process of enforcing voting rights.” S. Rep. No. 94-295,

22-24 at 40. But that selection says nothing as to whether private individuals

may enforce Section 2 of the VRA. At best, it is the Committee explaining its

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views on the importance of private remedies, not the insertion of one into the

as-enacted legislation. Drawing on another Committee report with a bit more

meat on its bones, Plaintiffs point to the Senate Report accompanying the

1982 amendments. There, the report “reiterates the existence of the private

right of action under Section 2…” [Doc. 66, p. 24], quoting S. Rep. No. 97-417,

at 5. Plaintiffs also note the House Report, which similarly provides that “[i]t

is intended that citizens have a private cause of action to enforce their rights

under Section 2.” H. Rep. No. 97-227, at 32 (1981). And while these

committee pronouncements certainly appear clear on their face, the Court

should exercise caution before ascribing any substantive weight to them.

Doing so risks upending a statute in favor of what a small minority on a

committee may or may not have felt about that statute.

      Turning once more to Justice Scalia’s treatise, which although not

binding, is persuasive on this issue, it is clear so-called “committee reports”

should be highly scrutinized by inquiring courts, if considered at all:

      As for committee reports, they are drafted by committee staff and
      are not voted on (and rarely even read) by the committee
      members, much less by the full house. And there is little reason
      to believe that the members of the committee reporting the bill
      hold views representative of the full chamber… Statements in
      committee hearings are so far removed from what the full house
      could possibly have had in mind that their asserted relevance is
      comical… The stark reality is that the only thing that one
      can say for sure was agreed to by both houses and the

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      President (on signing the bill) is the text of the statute.
      The rest is legal fiction.

Scalia & Garner, READING LAW 376 (emphasis added). And reaching to far-

flung committee reports is particularly unhelpful in determining whether

Congress established a private right of action because “under federal law…

[it] must be unambiguously conferred.” Armstrong v. Exceptional Child Ctr.,

Inc., 575 U.S. 320, 332 (2015). Indeed, the very act of turning to committee

reports suggests the presence of ambiguity in the statute. Moreover, in

relying on “hidden legislative wishes, [courts] risk displacing the legislative

compromises actually reflected in the statutory text… The only thing a court

can be sure of is what can be found in the law itself.” Va. Uranium, Inc., v.

Warren, 139 S. Ct. 1894, 1908 (2019) (plurality op.).

      Ultimately, the committee reports and subjective legislative history

surrounding the VRA deserve no part in this Court’s analysis.

      IV.   Congressional inaction has not “ratified” a private right of
            action.

      Plaintiffs’ final salvo in their effort to create a private right of action

under Section 2 of the VRA reads essentially as follows: if Congress did not

want a private right of action, it could have simply provided language in

Section 2 that no such right exists. See, e.g. [Doc. 66, p. 27] (where Plaintiffs

state that Congress’s “failure to change the statute in the face of [allegedly]

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overwhelming judicial precedent evidences its agreement with the courts’

consistent reading of Section 2 as providing for a private right of action”). But

this theory is incorrect for at least two reasons.

      First, it turns the standard for creation of a private remedy on its head.

Congress must unambiguously create a private right of action in order for one

to exist, it is not the job of Congress to unambiguously deny a private right of

action. Armstrong, 575 U.S. at 332.

      Second, while it is true that “Congress is presumed ‘to have been aware

of the scope of [the statute] as interpreted by lower courts,’” [Doc. 66, p. 27]

citing Liu v. SEC, 140 S. Ct. 1936, 1947 (2020), and “leaving [a] statute

without change in face of judicial opinion evidences congressional intent,” id.,

that is only true where the issue has been squarely considered and there is

general consensus among judicial opinion on the topic. But as Justice

Gorsuch recently noted in a concurring opinion, the courts have only

“assumed—without deciding,” the issue. Brnovich, 141 S. Ct. at 2350

(Gorsuch, J., concurring). And, as that quote suggests, an assumption is not—

and cannot be—a decision. Moreover, Congress’ decision to craft amendments

to certain sections of the VRA, and to reauthorize others, is not an indication

that revisions to other sections were considered and rejected. When

“Congress has not comprehensively revised a statutory scheme but has made

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only isolated amendments . . . [i]t is impossible to assert with any degree of

assurance   that   congressional   failure   to   act   represents   affirmative

congressional approval of [a court’s] statutory interpretation.” AMG Capital

Mgmt., LLC v. FTC, 141 S. Ct. 1341, 1351 (2021), quoting Sandoval, 532 U.S.

at 292. Accordingly, no presumption of ratification attaches here.

                               CONCLUSION

      Plaintiffs are correct that courts have long assumed—without

deciding—that Section 2 empowers private plaintiffs to bring a cause of

action. But when the question is squarely considered, it is evident that the

longstanding assumptions regarding Section 2 were misplaced. And because

there are no examples of binding precedent where higher courts definitively

found a private right of action under Section 2, this Court is free to consider

the issue anew, and should do so based on the text, not conjecture. Based on

that text, this Court should grant Defendants’ Motion to Dismiss.

       Respectfully submitted this 17th day of June, 2022.

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                    CERTIFICATE OF COMPLIANCE

     Pursuant to L.R. 7.1(D), the undersigned certifies that the foregoing

Brief has been prepared in Century Schoolbook 13, a font and type selection

approved by the Court in L.R. 5.1(B).

                                   /s/ Bryan P. Tyson
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